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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF PUERTO RICO

      IN RE:                                         CASE NO. 18-05210 BKT
      OSCAR SOTO RODRÍGUEZ                           CHAPTER 13
      DEBTOR

                           REPLY TO DEBTOR’S RESPONSE TO
               CREDITOR’S MOTION TO DISMISS CASE (DOCKET ENTRY N O. 45)

 TO THE HONORABLE COURT:

          COMES NOW creditor, DESIRAY DÍAZ MALDONADO through the undersigned
 attorney, and very respectfully states and prays as follows:

 1.       On October 8th, 2018 creditor Desiray Díaz Maldonado filed a Motion Requesting

 Dismissal of Case. [See docket entry no. 35]. In this motion the creditor states that the debtor

 has two (2) domestic support obligations (DSO) with the creditor and an obligation to pay-

 as part of his DSO obligation- the mortgage of the residence where the creditor and the

 minors reside as per State Court Order. See docket entry no. 35.

 2.       The debtor has replied to creditors motion requesting dismissal alleging that

 although the real property belongs only to him, he has provided for the relief from stay as he

 is not able to comply with the mortgage loan payments. [See docket entry no. 45] The debtor

 also alleges in his motion that he had undergone loss mitigation process in which he had not

 been able to comply. The debtor stated that he no longer can pay for the property which the

 creditor occupies.

 3.       The creditor informs this Honorable Court that as per Sate Court Order in the civil

 case ECU2015-0400 he has an obligation to make the monthly payment of the mortgage for

 the residence in which the two (2) minors reside. That is why he was and still is entitled to
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                                      Reply to Debtor’s Response to Motion Requesting Dismissal of Case

 retain the amount of $625.00 per month from the monthly DSO payment.

 4.      The debtor has not provided any evidence of the reversal of the State Court Order or

 any other evidence which sustains that the State Court Order has been set aside.

 5.      The creditor requests from this Honorable Court to consider the Motion Requesting

 Dismissal of the Case (docket entry no. 35) for the debtor’s failure to comply with section

 1307(c)(11) of the Bankruptcy Code and grant the Order of Dismissal along with any other

 order it deems just or proper.

         WHEREFORE, creditor requests from this Honorable Court to consider the Motion

 Requesting Dismissal of the Case (docket entry no. 35) and grant the Order of Dismissal along

 with any other order it deems just or proper


         RESPECTFULLY SUBMITTED

         In Caguas, Puerto Rico, this 17th day of November 2018.

 NOTICE: Within fourteen (14) days after service as evidenced by the certification, and an additional
 three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
 whom this paper has been served, or any other party to the action who objects to the relief sought
 herein, shall serve and file an objection or other appropriate response to this paper with the clerk’s
 office of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or other
 response is filed within the time allowed herein, the paper will be deemed unopposed and may be
 granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
 policy; or (iii) in the opinion of the court, the interest of justice requires otherwise.

 CERTIFICATE OF SERVICE: I CERTIFY that on this same date the foregoing document has been
 electronically filed WITH THE Clerk of the Court using the CM/ECF system which sends notification
 of such filing to all system’s participants and the U.S. Trustee’s Office and the Trustee.


                               /s/ CARLOS A. RUIZ RODRIGUEZ
                                        USDC-PR 210009
                                       Attorney for Debtor
                                 Lcdo. Carlos Alberto Ruiz, CSP
                             P.O. Box 1298, Caguas, PR 00726-1298
                          Phone: (787) 286-9775 / Fax: (787) 747-2174
                             carlosalbertoruizquiebras@gmail.com

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